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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  ONAS SANTIAGO,

         Plaintiff,

  v.                                       Case No: 8:17-CV-2971-T-33AAS

  MUNCHIES PET OF NEW TAMPA,
  INC. and TEXT TAMPABAY,
  LLC,

         Defendants.
                                       /

                                     ORDER

         This cause is before the Court sua sponte. A review of

  the file indicates that Plaintiff is proceeding pro se.

  Because Plaintiff is proceeding pro se, the Court takes the

  opportunity to inform Plaintiff of some of the procedural

  rules with which Plaintiff must comply. The Court does so

  because pro se litigants are subject to the same law and rules

  as litigants who are represented by counsel, including the

  Federal Rules of Civil Procedure and the Local Rules. Moon v.

  Newsome, 863 F.2d 835, 837 (11th Cir. 1989). While the Court

  will    set   forth    some   of   the     more   prominent   procedural

  obligations and requirements, this Order does not set forth

  all of the requirements and should not be relied upon as

  limiting Plaintiff’s duties and obligations.
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        For    more     information,    Plaintiff    should    review   the

  “Proceeding Without a Lawyer” section of the court’s website.

  Of particular note is the Handbook designed to help guide pro

  se litigants. Also, there is a legal assistance program on

  Tuesdays from 11:00 a.m. to 1:00 p.m. on the second floor of

  the Sam A. Gibbons United States Courthouse where pro se

  litigants may consult with a lawyer on a limited basis for

  free. A description of this program may be found on the

  court’s     website    under   the   “Proceeding   Without    a   Lawyer”

  section.

  I.    Frequent Terms

   Action                   A    “civil     or    criminal    judicial
                            proceeding.”     Action,    Black’s    Law
                            Dictionary (10th ed. 2014). An action is
                            often used as a synonym for suit or
                            lawsuit. Id.
   Answer                   A type of pleading. An answer is how a
                            defendant responds to a complaint. Fed. R.
                            Civ. P. 8(b).
   Cause of Action          A “factual situation that entitles one
                            person to obtain a remedy in court from
                            another person.” Cause of action, Black’s
                            Law Dictionary (10th ed. 2014).
   Complaint                A type of pleading. A complaint is how a
                            plaintiff initiates a civil lawsuit and it
                            is   the   document   that   contains  the
                            plaintiff’s allegations forming the basis
                            of the suit. Fed. R. Civ. P. 8(a).
   In Forma Pauperis        Latin for “in the manner of a pauper” and
                            used by courts to indicate when a litigant
                            is excused from paying filing fees. In
                            forma pauperis, Black’s Law Dictionary
                            (10th ed. 2014).




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   Motion             How relief is requested from the court. A
                      motion must (1) be in writing unless made
                      during a hearing or at trial, (2) state
                      with particularity the grounds for seeking
                      the order, and (3) state the relief
                      sought. Fed. R. Civ. P. 7(b).
   Movant             The party that files a motion and is
                      seeking relief from the court.
   Pleading           There are only 7 types of filings that are
                      considered pleadings under the Rules. Fed.
                      R. Civ. P. 7(a). Two common types of
                      pleadings are a complaint and an answer.
   Process            “A summons or writ, [especially] to appear
                      or respond in court.” Process, Black’s Law
                      Dictionary.
   Pro Se             “One who represents oneself in a court
                      proceeding without the assistance of a
                      lawyer.” Pro se, Black’s Law Dictionary
                      (10th ed. 2014).
   Service of Process Refers to the procedure for notifying a
                      defendant that a lawsuit has been filed
                      against him or her. Federal Rule of Civil
                      Procedure 4 lists the requirements for
                      effecting service of process.
   Sua Sponte         Latin   for    “of   one’s    own   accord;
                      voluntarily” and used by the court to
                      indicate when an order was entered on the
                      court’s   own   initiative.   Sua   Sponte,
                      Black’s Law Dictionary (10th ed. 2014).
   Summons            “A   writ   or   process   commencing   the
                      plaintiff’s action and requiring the
                      defendant to appear and answer.” Summons,
                      Black’s Law Dictionary (10th ed. 2014).
                      Federal Rule of Civil Procedure 4(a) lists
                      the required contents of a summons.


  II.   Local Rules

        The Local Rules are available for review on the public

  website for the Middle District Court of Florida and a copy

  may be obtained by visiting the Clerk’s Office.




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  III. Federal Rules of Civil Procedure

        The Federal Rules of Civil Procedure are available for

  review online or in the law libraries of the state and federal

  courthouses.

  IV.   Filing Fee

        In order to maintain an action in this Court, Plaintiff

  must either pay the filing fee to the Clerk’s Office or file

  a motion to proceed in forma pauperis. If the filing fee has

  not already been paid, Plaintiff is directed to either pay

  the filing fee or file a motion to proceed in forma pauperis.

  V.    Service of Process

        In every civil case, “a summons must be served with a

  copy of the complaint.” Fed. R. Civ. P. 4(c)(1). Plaintiff is

  required to complete service of process on all defendants

  within 90 days of filing the complaint. Fed. R. Civ. P. 4(m).

  It is Plaintiff’s responsibility to ensure service of process

  occurs within the 90-day window. Fed. R. Civ. P. 4(c)(1).

  Failure to timely or otherwise properly perfect service of

  process may, under some circumstances, result in dismissal of

  the case. Fed. R. Civ. P. 4(m), 12(b). Plaintiff must also

  file proof of service, generally by affidavit of the process

  server, as to each defendant who has not waived service. Fed.

  R. Civ. P. 4(l)(1).




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        For those plaintiffs who have filed a motion to proceed

  in forma pauperis, the Court endeavors to rule on such motions

  in a timely fashion. However, it remains the Plaintiff’s

  burden to ensure service on all defendants is accomplished

  within 90 days from when the complaint was filed. Fed. R.

  Civ. P. 4(c)(1), 4(m). If the motion to proceed in forma

  pauperis is granted, the United States Marshals Service will

  attempt to serve the defendants after you provide fully

  executed summonses and copies of the complaint to the Marshals

  Service. However, the Marshals Service will not attempt to

  effect service until the motion to proceed in forma pauperis

  is granted. Fed. R. Civ. P. 4(c)(3). On its own initiative,

  or by the Plaintiff filing a motion, the Court will address

  extensions of time to serve defendants on an as needed basis.

  Nevertheless, you should actively monitor the docket.

  VI.   Filings with the Court

        All filings with the Court must be made in accordance

  with the Federal Rules of Civil Procedure and this Court’s

  Local Rules.

        A.    Corresponding with the Court

        No party shall correspond with the Court or any Judge or

  Magistrate Judge of the Court in letter form. M.D. Fla. L.R.

  3.01(f). The Judges of this Court will only deliver their




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  decisions and opinions in response to documents filed with

  the Clerk’s Office in accordance with the governing rules of

  procedure. Any correspondence sent to judicial officers will

  not be responded to, will be stricken from the case file, and

  will be returned to the sending party.

        B.    Types of Filings

        All documents filed with the Court must be in the form

  of either a pleading or a motion. Each pleading, motion,

  notice, or other paper shall be presented in a separate

  document.

        C.    Requesting Relief from the Court

        All requests for relief from, or action by, the Court

  must be in the form of a motion. The motion must meet the

  requirements of all applicable rules. All motions must be

  accompanied      by   a   legal   memorandum    with      citation     of

  authorities in support of the relief requested. M.D. Fla.

  L.R. 3.01(a). The motion and memorandum shall be filed as one

  single document and cannot exceed 25 pages in length. Id.

        Further,    prior   to   filing   most   motions,    Local     Rule

  3.01(g) requires that the party filing the motion confer with

  opposing counsel in a good faith attempt to resolve the issue.

  The motion must include a certificate that the movant has

  complied with this requirement and shall also notify the Court




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  whether the parties agree on the relief requested. The Court

  expects all parties to carry out their obligation under Local

  Rule 3.01(g) in good faith and to make themselves reasonably

  available for Local Rule 3.01(g) conferences.

        Local Rule 3.01 sets forth several other requirements

  and rules governing motions filed with the Court. Failure to

  comply with these requirements or any other rule may result

  in the denial of the motion.

        D.    Responding to Motions

        If Plaintiff wishes to respond to a motion filed by

  another party in this case, the response must be timely filed.

  Any brief or legal memorandum in opposition to a motion must

  be filed within 14 days after Plaintiff is served with that

  motion. M.D. Fla. L.R. 3.01(b). If a party has missed a filing

  deadline, that party must file a motion seeking leave of Court

  to file the document out of time. If a response is not timely

  filed, the Court may assume Plaintiff does not oppose that

  motion and any relief requested by it. Moreover, a response

  in opposition may not exceed 20 pages. Id.

        E.    Additional Requirements

        All   documents   filed   with    the   Court   must   include   a

  caption, a brief title that describes the nature of the

  document,    the   filing   party’s    name   and   signature,   and   a




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  Certificate of Service. Fed. R. Civ. P. 10, 11. The last two

  items are explained below.

              1.    Name and Signature

        All pleadings, motions, or other papers filed with the

  Court by Plaintiff must bear his or her original signature,

  or they will be rejected by the Court. Among other things,

  the signature serves as Plaintiff’s certification under Rule

  11(b) that the document is not submitted for any improper

  purpose; that the claims or defenses presented in it are

  warranted by existing law; and that there exists reasonable

  factual   support   for   the   allegations   or   assertions   made.

  Plaintiff should carefully review Rule 11, as the failure to

  comply with its provisions can result in the imposition of

  sanctions, including monetary fines or dismissal of the case.

              2.    Certificate of Service

        All pleadings, motions, or other papers filed with the

  Court by Plaintiff must also include a signed Certificate of

  Service. The Certificate of Service is confirmation that

  Plaintiff has complied with the requirements of Rule 5 by

  serving on every other party to the action (or its attorney)

  a copy of the particular pleading, motion, or other paper

  filed with the Court. At a minimum, a Certificate of Service

  must state the date on which a copy of the particular document




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  was served on the other parties to the action (or their

  attorneys) and the means by which such service was made (e.g.,

  U.S. Mail, Federal Express, or hand delivery).

  VII. Compliance with Court’s Orders

         Plaintiff must abide by and comply with all orders of

  this    Court.   Failure      to   do   so        may   result   in   sanctions,

  including dismissal of this case.

  VIII. Compliance with Applicable Rules

         Although proceeding pro se, Plaintiff is not relieved of

  all of the obligations that rest upon an attorney. There are

  still many requirements with which Plaintiff must comply,

  including     those    imposed     by       the    Federal    Rules    of    Civil

  Procedure and the Local Rules of this Court. Plaintiff is

  warned that the failure to comply with these requirements and

  obligations can have significant consequences. For example,

  failure to respond to discovery requests as described in the

  Rules   may   result    in    sanctions.          Fed.   R.   Civ.    P.    37.   In

  addition,     failure    to    conduct        a     timely    Case    Management

  Conference and submit a Case Management Report can result in

  dismissal of this case for lack of prosecution. M.D. Fla.

  L.R. 3.05, 3.10.




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   IX.   Duty to Maintain Information and Monitor Docket

         Plaintiff is under a continuing obligation to keep his

   or her address, phone number, and, if on file, e-mail address

   current.   The   Court   must   be    informed   of   any   change   in

   Plaintiff’s contact information.

         In addition, Plaintiff is under a continuing obligation

   to regularly monitor the docket. Failure to do so may result

   in Plaintiff missing a deadline, which as described above can

   have severe consequences.

   X.    CM/ECF Access

         CM/ECF is the Court’s electronic docketing system. Use

   of CM/ECF allows for more efficient communication between the

   parties and the Court. If Plaintiff has paid the filing fee

   or has been granted permission by the Court to proceed in

   forma pauperis, Plaintiff may file a motion requesting access

   to CM/ECF. While use of CM/ECF is encouraged, it is not

   required for pro se litigants. If the Court grants a pro se

   litigant permission to use CM/ECF, that person must comply

   with the Clerk’s CM/ECF Administrative Procedures and other

   applicable rules.

   XI.   Judge Covington’s Practices and Preferences

         Judge Covington’s webpage on the Middle District of

   Florida’s website contains useful information and lists Judge




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   Covington’s     practices.   Plaintiff   is    highly      encouraged   to

   thoroughly review the webpage.

   XII. Miscellaneous

         Until you request and are granted permission to use

   CM/ECF, you will receive the Court’s orders in hard-copy

   format. As such, you will be unable to use the hyperlinks

   included   in   this   order.   But,   you    can   find    much   of   the

   information included herein on the undersigned’s webpage,

   http://www.flmd.uscourts.gov/JudicialInfo/Tampa/JgCovington

   .htm.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Plaintiff shall review and comply with the provisions of

   this Order, as well as the Federal Rules of Civil Procedure,

   the Local Rules of the Middle District of Florida, and any

   applicable statutes and regulations.

         DONE and ORDERED in Chambers in Tampa, Florida, this

   21st day of December, 2017.




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